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                                  123225



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


  In Re: COOK MEDICAL, INC., IVC                 Case No. 1:14-ml-2570-RLY-TAB
  FILTERS MARKETING, SALES                       MDL No. 2570
  PRACTICES AND PRODUCTS LIABILITY
  LITIGATION


  This Document Relates to Plaintiff(s):

  Terra Frost (1:21-cv-06343-RLY-TAB)




         ORDER PERMITTING WITHDRAWAL OF ATTORNEY APPEARANCE

         Plaintiff Terra Frost’s Motion to Withdraw Attorney Appearance of David Ortez is

 GRANTED, it is therefore,

         ORDERED that David Ortez is withdrawn as attorney of record for Plaintiff Terra Frost

 and is relieved of the duties and responsibility of counsel for Plaintiff Terra Frost effective

 immediately. Basil E. Adham and Johnson Law Group shall continue to serve as counsel of record

 for Plaintiff.



 Date: ____________

                                                    ____________________________________
                                                    Tim A. Baker
                                                    United States Magistrate Judge
                                                    Southern District of Indiana
